Case 22-91167-AKM-13         Doc 25   Filed 03/10/23   EOD 03/10/23 09:03:18      Pg 1 of 1


                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                   NEW ALBANY DIVISION

IN RE: DEEANN CROWDER

Debtor(s)                                                   CASE NO: 22-91167-AKM-13



                    NOTICE OF CONFIRMATION OF CHAPTER 13 PLAN

         PLEASE TAKE NOTICE that the above-mentioned case was confirmed on March 8, 2023.


Dated:      March 10, 2023

                                             /s/ Joseph M. Black, Jr.
                                             Joseph M. Black, Jr.
                                             Chapter 13 Trustee
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